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                IN THE UNITED STATES DISTRICT COURT                         •• u 1 V.



               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                          20i5wnv-u              It: 32

                            SAVANNAH DIVISION
                                                        OU,u{
                                                            so. UlSr. Ir/lGA,

THE UNITED STATES OF AMERICA,


               Plaintiff,

                V.                          4:16CR224-05


SHAMON WILLIAMS,


               Defendant.




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this             day of November, 2016




                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
